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                               Exhibit
                                 9
7/19/2017                                                            | ICANN WHOIS
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                                                  简体中文   English   Français   Русский   Español   ‫اﻟﻌرﺑﯾﺔ‬   Portuguese



                           ICANN WHOIS


            webzilla.com                                     Lookup




       Showing results for: webzilla.com
       Original Query: webzilla.com




            Contact Information
            Registrant Contact                                                    Admin Contact
            Name: Konstantin Bezruchenko                                          Name: Konstantin Bezruchenko
            Organization: Webzilla Inc (TM Web Properties LTD)                    Organization: Webzilla Inc (TM Web Properties LTD)
            Mailing Address: 20801 Biscayne Boulevard, Aventura FL                Mailing Address: 20801 Biscayne Boulevard, Aventura FL
            33180 US                                                              33180 US
            Phone: +1.9542373587                                                  Phone: +1.9542373587
            Ext:                                                                  Ext:
            Fax: +1.9543022771                                                    Fax: +1.9543022771
            Fax Ext:                                                              Fax Ext:
            Email:bk@webzilla.com                                                 Email:bk@webzilla.com

            Tech Contact
            Name: Konstantin Bezruchenko
                                                                                                                                P-I000046
https://whois.icann.org/en/lookup?name=webzilla.com                                                                                         1/5
7/19/2017                                                          | ICANN WHOIS
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            Organization: Webzilla Inc (TM Web Properties LTD)
            Mailing Address: 20801 Biscayne Boulevard, Aventura FL
            33180 US
            Phone: +1.9542373587
            Ext:
            Fax: +1.9543022771
            Fax Ext:
            Email:bk@webzilla.com




            Registrar                                                   Status
            WHOIS Server: whois.moniker.com                             Domain Status:clientDeleteProhibited
            URL: http://www.moniker.com                                 https://icann.org/epp#clientDeleteProhibited
            Registrar: Moniker Online Services LLC                      Domain Status:clientTransferProhibited
            IANA ID: 228                                                https://icann.org/epp#clientTransferProhibited
            Abuse Contact Email:abuse@moniker.com
            Abuse Contact Phone: +1.9546071294




            Important Dates                                             Name Servers
            Updated Date: 2016-04-12                                    ns1.webzilla.com
            Created Date: 1998-12-03                                    ns2.webzilla.com
            Registration Expiration Date: 2024-12-02                    ns3.webzilla.com




            Raw WHOIS Record


                                                                                                                         P-I000047
https://whois.icann.org/en/lookup?name=webzilla.com                                                                                  2/5
7/19/2017                                                    | ICANN WHOIS
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            Domain Name: webzilla.com
            Registry Domain ID: 2624108_DOMAIN_COM-VRSN
            Registrar WHOIS Server: whois.moniker.com
            Registrar URL: http://www.moniker.com
            Updated Date: 2016-04-12T21:00:39.0Z
            Creation Date: 1998-12-03T05:00:00.0Z
            Registrar Registration Expiration Date: 2024-12-02T05:00:00.0Z
            Registrar: Moniker Online Services LLC
            Registrar IANA ID: 228
            Registrar Abuse Contact Email: abuse@moniker.com
            Registrar Abuse Contact Phone: +1.9546071294
            Domain Status: clientDeleteProhibited https://icann.org/epp#clientDeleteProhibited
            Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited
            Registry Registrant ID: Not Available From Registry
            Registrant Name: Konstantin Bezruchenko
            Registrant Organization: Webzilla Inc (TM Web Properties LTD)
            Registrant Street: 20801 Biscayne Boulevard
            Registrant Street: Suite 403
            Registrant City: Aventura
            Registrant State/Province: FL
            Registrant Postal Code: 33180
            Registrant Country: US
            Registrant Phone: +1.9542373587
            Registrant Phone Ext:
            Registrant Fax: +1.9543022771
            Registrant Fax Ext:
            Registrant Email: bk@webzilla.com
            Registry Admin ID: Not Available From Registry
            Admin Name: Konstantin Bezruchenko
            Admin Organization: Webzilla Inc (TM Web Properties LTD)
            Admin Street: 20801 Biscayne Boulevard
            Admin Street: Suite 403
            Admin City: Aventura
            Admin State/Province: FL
            Admin Postal Code: 33180
            Admin Country: US
            Admin Phone: +1.9542373587
            Admin Phone Ext:
                                                                                                             P-I000048
https://whois.icann.org/en/lookup?name=webzilla.com                                                                      3/5
7/19/2017                                                    | ICANN WHOIS
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            Admin Fax: +1.9543022771
            Admin Fax Ext:
            Admin Email: bk@webzilla.com
            Registry Tech ID: Not Available From Registry
            Tech Name: Konstantin Bezruchenko
            Tech Organization: Webzilla Inc (TM Web Properties LTD)
            Tech Street: 20801 Biscayne Boulevard
            Tech Street: Suite 403
            Tech City: Aventura
            Tech Postal Code: 33180
            Tech State/Province: FL
            Tech Country: US
            Tech Phone: +1.9542373587
            Tech Phone Ext:
            Tech Fax: +1.9543022771
            Tech Fax Ext:
            Tech Email: bk@webzilla.com
            Registry Billing ID: Not Available From Registry
            Billing Name: Konstantin Bezruchenko
            Billing Organization: Webzilla Inc (TM Web Properties LTD)
            Billing Street: 20801 Biscayne Boulevard
            Billing Street: Suite 403
            Billing City: Aventura
            Billing State/Province: FL
            Billing Postal Code: 33180
            Billing Country: US
            Billing Phone: +1.9542373587
            Billing Phone Ext:
            Billing Fax: +1.9543022771
            Billing Fax Ext:
            Billing Email: bk@webzilla.com
            Name Server: ns1.webzilla.com
            Name Server: ns2.webzilla.com
            Name Server: ns3.webzilla.com
            DNSSEC: unsigned
            URL of the ICANN WHOIS Data Problem Reporting System: https://wdprs.internic.net/
            >>> Last update of WHOIS database: 2017-07-19T18:46:03.0Z <<<

                                                                                                             P-I000049
https://whois.icann.org/en/lookup?name=webzilla.com                                                                      4/5
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            For more information on Whois status codes, please visit https://www.icann.org/epp

            Please register your domains at; http://www.moniker.com
            This data is provided by
            for information purposes, and to assist persons obtaining information
            about or related to domain name registration records.
             does not guarantee its accuracy.
            By submitting a WHOIS query, you agree that you will use this data
            only for lawful purposes and that, under no circumstances, you will
            use this data to
            1) allow, enable, or otherwise support the transmission of mass
               unsolicited, commercial advertising or solicitations via E-mail
               (spam) or
            2) enable high volume, automated, electronic processes that apply
               to this WHOIS server.
            These terms may be changed without prior notice.
            By submitting this query, you agree to abide by this policy.




       Submit a Complaint for WHOIS
       WHOIS Inaccuracy Complaint Form
       WHOIS Service Complaint Form

       WHOIS Compliance FAQs



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                                                                                                                           P-I000050
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